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               UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

RETHINK35, SAVE OUR SPRINGS
ALLIANCE, AUSTIN JUSTICE               Civ. Case No. 1:24-CV-00092
COALITION, PEOPLE ORGANIZED IN
DEFENSE OF EARTH AND HER
RESOURCES (PODER), DOWNTOWN
AUSTIN NEIGHBORHOOD
ASSOCIATION, PARENTS’ CLIMATE
COMMUNITY, EAST TOWN LAKE
CITIZENS NEIGHBORHOOD
ASSOCIATION, SOUTHEAST AUSTIN
NEIGHBORS AND RESIDENTS
ORGANIZED FOR ENVIRONMENTAL
JUSTICE (SANAR), HANCOCK
NEIGHBORHOOD ASSOCIATION,
MUELLER NEIGHBORHOOD
ASSOCIATION, FRIENDS OF AUSTIN
NEIGHBORHOODS, FRIENDS OF
HYDE PARK, SUNRISE MOVEMENT
AUSTIN, ENVIRONMENT TEXAS,
TEXAS PUBLIC INFORMATION
RESEARCH GROUP, and CELIA
ISRAEL,

                         Plaintiffs,

v.

TEXAS DEPARTMENT OF
TRANSPORTATION (TXDOT),

                         Defendants.
     Case 1:24-cv-00092-DII Document 30-2 Filed 08/13/24 Page 2 of 2




         ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO
                 FILE FIRST AMENDED COMPLAINT


      After considering Plaintiffs’ Motion for Leave to File First Amended Complaint,

the Court, it is hereby ORDERED that Plaintiffs’ Motion is GRANTED on this ____ day

of ________, 2024.



                                         ___________________________
                                         ROBERT PITMAN
                                         UNITED STATES DISTRICT JUDGE




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